UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Ghazi Abu Nah|, et. al.,

 

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DOC #:
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Piaintiff(s) CERTIFICATE OF MAILING
Case No.: 15-cv»9755 (E_GS)
.-v”
Georges Zard Abou jaoude, et. al.,
Defendant($)
I hereby certify under the penaities of perjury that on i'$_th day of June , 20 i“/ , l Sei'ved:

 

Mohamad Hamdoun, Atrium 13qu - 2nd F|OOr, Niain Street, Nlina Ai Hosn, Beirut, Lebanon

 

 

 

 

 

>< One copy of the Summons, Comp|aint, Court's Scheduling Order, and the Court's individual Rules.

 

 

by Federai Express #7868 6081 9193

, to the individual of the

foreign state, pursuant to the provisions of FRCP 4(t)2(o)(ii).

 

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by

, to the head of the ministry

of foreign affairs, pursuant to the provisions ofForeign Servioes Imniunities Act, 28 U.S.C. §

i6()8(a)(3).

 

 

 

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by

,to the Secretary of State,

 

Attn: Director of Consular Sei'vioes, Oi’iice oi" Poiicy Review and Inter-Agenoy Liaison
(CA/OCS/PRI), U.S. Department of State, SA-29, 4“‘ Floor, 2201 C Street NW, Washington, DC
20520, pursuant to the provisions of Foreign Servioes Immunities Act, 28 U.S.C. § 1608(21)(4).

 

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by

, to the head of the agency or

 

instrumentality of the foreign state, pursuant to the provisions ofForeign Sei'vioes immunities

Ao`t, 28 U.S.C. § ié()S(b)($)(B).

Dated:NeW York, New York
June i9, 2017

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Nlohamad Hamdoun
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